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     Sacramento, CA 95814
 3   (916) 444-9845
 4   Attorneys for Defendant
 5   Van Dat Vi
 6

 7

 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12                                             )
     UNITED STATES OF AMERICA,                 ) No. CR S—07-00059 LKK
13                                             )
                  Plaintiff,                   )
14         v.                                  ) STIPULATION AND
                                               ) ORDER
15                                             )
     VAN DAT VI,                               )
16                                             )
                  Defendant.                   )
17                                             )
18

19         Plaintiff, by its counsel, Assistant United States Attorney

20   Mary Grad, and defendant, by his counsel, Kresta Daly, Attorney
21
     at Law, hereby stipulate and agree that the condition set forth
22
     in the pre-trial release order prohibiting contact with co-
23
     defendants be lifted.
24

25         Pretrial Services Officer Becky Fidelman has been informed

26   of the parties desire to modify this condition and does not
27
     object to the modification.
28




     U.S. v. Van Dat Vi, 07cr0059          1
     Stip/Proposed Order
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 1         Van Dat Vi specifically agrees that he will not discuss the
 2
     facts and circumstances surrounding this case with any of the
 3
     co-defendants who are also charged.
 4

 5

 6

 7                                       Respectfully submitted,
 8
                                         MACGREGOR SCOTT
 9                                       United States Attorney

10

11
     DATED:    March 27, 2007            /s/Kresta N. Daly (Telephonically)
12                                       authorized to sign for
                                         Mary Grad
13                                       Assistant U. S. Attorney
14

15

16   DATED:    March 27, 2007            /s/ Kresta N. Daly
                                         KRESTA N. DALY
17                                       Attorney for Defendant
18
                                         Van Dat Vi

19

20

21
                                       0 R D E R

22         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
23

24

25   DATED:    March 28, 2007
26

27

28




     U.S. v. Van Dat Vi, 07cr0059           2
     Stip/Proposed Order
